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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO


    BELLA HEALTH AND WELLNESS et al.,
                                                     Case No. 1:23-cv-939-DDD-SBP
             Plaintiffs,

       v.                                             JOINT STATUS REPORT

    PHIL WEISER, in his official capacity as
    Attorney General of Colorado, et al.,

             Defendants.


      Plaintiffs and Defendants in this case, by their undersigned counsel, hereby sub-

   mit this joint status report pursuant to this Court’s order dated December 12, 2023.

   Dkt. 128.

      1. This Court entered a scheduling order dated December 12, 2023. Id. That order

   required the parties to serve their initial disclosures on January 5, 2024. The parties

   did so.

      2. Plaintiffs served their initial written discovery requests on January 8, 2024.

   Defendants served their initial discovery requests on January 19, 2024. The parties

   agreed to reciprocal 21-day extensions of the deadlines to respond to the initial writ-

   ten discovery requests. Defendants timely responded to Plaintiffs’ initial discovery

   requests on February 28, 2024. Plaintiffs anticipate timely responding to Defendants’

   initial discovery requests by March 12, 2024.

      3. The parties have no pending or unresolved discovery disputes at this time.
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      4. The parties have discussed settlement and do not believe it is an option at this

   time. The parties will report the result of any future settlement discussions to the

   Court as appropriate.



   Dated: March 6, 2024                      Respectfully submitted,

   /s/ Brady Jerome Grassmeyer               /s/ Mark L. Rienzi
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   /s/ Brian J. Urankar                      /s/ Elizabeth V. Kenny
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   Counsel for Defendants                    Colorado State Board of Nursing
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                             CERTIFICATE OF SERVICE

      I hereby certify that on March 6, 2024, I electronically filed the above joint status

   report with the Clerk of Court via CM/ECF, which will provide electronic copies to

   counsel of record.

                                                   /s/ Mark L. Rienzi
                                                   Mark L. Rienzi




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